               Case 3:11-cr-04747-BTM                        Document 34                  Filed 12/21/11            PageID.65              Page 1 of 2

     'I!lIAO 245B (CASD) (Rev. 8111) Judgment in a Criminal Case
                Sheet I
                                                                                                                              FILED-
                                                                                                                               DEC 21 2011
                                                UNITED STATES DISTRICT Cc UR''"'                                                      DISTRICT COURT
                                                                                                                       CLERK, U.S.                 ~~
                                                    SOUTHERN DISTRICT OF CALIFORN ~UTHEPN O:A::~~j~'
                     UNITED STAlES OF AMER CA                                            JUDGMENT IN ~ CRIMINAL CASE
                                          v.                                             (For Offenses Commit ted On or After November 1, 1987)

                      MARIA ISABEL SANCHEZ [2]                                           Case Number: llCR4747-BTM
                                                                                         JAMES M. BROWN
                                                                                         Defendant's Attorney
    REGISTRATION NO. 28568298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s) 1 OF THE SUPERSEDING INFORMAnON

    o was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                   Count
    Title & Section                            Nature of Offense                                                                                  Number(s)
8 USC 1326                             ATTEMPTED ENTRY AFTER DEPORTATION                                                                                  I




        The defendant is sentenced as provided in pages 2 through                    2          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o   The defendant has been found not guilty on count(s)
                                                               ------------------------------------------------
 o   Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                    0 areD dismissed on the motion of the United States.
 [8] Assessment: $100 Waived and Remitted.

      Pursuant to the motion of the United States under 18 USC 3573. the special assessment provided for under 18 USC 3013 is waived and remitted as uncollectible.

 [8] Fine waived                                      0 Forfeiture pursuant to order filed                                           • included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney ofany material change in the defendant's economic circumstances.

                                                                                  DECEMBER 16,2011




                                                                                                      Y TED MOSKOWITZ
                                                                                  UNITED STATES DISTRICT JUDGE

                                                                                                                                                     llCR4747-BTM
          Case 3:11-cr-04747-BTM                     Document 34            Filed 12/21/11    PageID.66          Page 2 of 2

AO 245B (CASD) (Rev. 8111) Judgment in a Criminal Case
            Sheet 2 -   Imprisonment

                                                                                              Judgment -   Page _ _2 _ of      2
 DEFENDANT: MARIA ISABEL SANCHEZ [2]
 CASE NUMBER: llCR4747-BTM
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED (86 DAYS)



    o
    o
         Sentence imposed pursuant to Title 8 USC Section 1326(b).
        The court makes the following recommendations to the Bureau of Prisons:               ~~
                                                                                               BARRY T    OSKOWITZ
                                                                                               UNITED STATES DISTRICT JUDGE




    o   The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.       Op.m.         on
                as notified by the United States Marshal.

    o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o     before
                         -------------------------------------------------------------------------
          o     as notified by the United States Marshal.
          o     as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at ______________________ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                       By
                                                                                        DEPUTY UNITED STATES MARSHAL




                                                                                                                      l1CR4747-BTM
